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    16                       SOUTHERN DISTRICT OF CALIFORNIA
    17
         Al Otro Lado, Inc., et al.,                  Case No.: 17-cv-02366-BAS-KSC
    18

    19
                            Plaintiffs,               MEMORANDUM OF POINTS AND
                                                      AUTHORITIES IN SUPPORT OF
    20            v.                                  PLAINTIFFS’ MOTION TO
                                                      ENFORCE PRELIMINARY
    21   Chad F. Wolf,1 et al.,                       INJUNCTION
    22                      Defendants.               Hearing Date: January 19, 2021
    23
                                                      NO ORAL ARGUMENT UNLESS
    24                                                REQUESTED BY THE COURT
    25

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    27   1
        Acting Secretary Wolf is automatically substituted for former Acting Secretary
    28
       McAleenan pursuant to Fed. R. Civ. P. 25(d).
                                                    MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
                                                                ENFORCE PRELIMINARY INJUNCTION
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     1   I.    INTRODUCTION
     2         Over a year ago, the Court entered a preliminary injunction (“PI”) ordering
     3   the government not to apply the Asylum Ban to individuals who were metered prior
     4   to July 16, 2019. After the government’s selective compliance with the PI, the Court
     5   issued an order clarifying the steps the government must take to ensure compliance
     6   (“Clarification Oder”). Six weeks have passed since the entry of the Clarification
     7   Order, and it is clear that Defendants never intended to fully comply with the Court’s
     8   PI or the Clarification Order. Instead, Defendants have appealed the Clarification
     9   Order to the Ninth Circuit, rehashing failed arguments in the hope that the same
    10   court will issue a different ruling on a motion to stay effectively the same injunction
    11   it denied nine months ago. But this Court retains jurisdiction to enforce its prior
    12   orders—despite the pending appeal—and should exercise that authority here.
    13         PI class members living with the consequences of Defendants’ refusal to
    14   provide them access to the U.S. asylum process should not have to wait any longer
    15   to receive the benefits of the PI. The more time that passes, the more difficult it will
    16   be to identify, locate, provide notice to, and reopen or reconsider cases of those
    17   entitled to PI relief—time is of the essence. The parties have conferred extensively
    18   about the meaning and requirements of the PI and the Clarification Order
    19   (collectively, “the Orders”), yet Defendants have not developed a comprehensive
    20   plan for implementing the Orders, have not obtained copies of metering waitlists to
    21   ascertain the class, have resisted adopting adequate notice that would plainly and
    22   simply explain the existence and import of the PI, have not developed a process for
    23   reopening and reconsidering the cases of PI class members who received negative
    24   asylum determinations based on the Asylum Ban, and have refused to share class
    25   member information with Plaintiffs without an unduly restrictive protective order.
    26   Defendants are myopically focused on pushing through the removals of those PI
    27   class members slated for imminent removal, without a concrete plan for how to
    28   properly screen such individuals for PI relief. Defendants single-mindedly pursue
                                                           MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
                                                   1          ENFORCE PRELIMINARY INJUNCTION
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     1   this goal to the detriment of efforts to ensure compliance for the majority of class
     2   members, including those who were removed to countries where they face potential
     3   persecution or torture. Without class member information and an implementation
     4   plan for individuals not in custody or removal proceedings, Plaintiffs are unable to
     5   move forward with their efforts to notify and protect the rights of those PI class
     6   members. Thus, Court oversight of the government’s compliance efforts and
     7   enforcement of its prior orders are necessary and appropriate at this time.
     8   II.   BACKGROUND
     9         A.     The Preliminary Injunction
    10         This case concerns a challenge to the government’s practice of turning back
    11   asylum seekers at the U.S.-Mexico border, including through the practice of
    12   metering. While the case was pending, on July 16, 2019, the government issued a
    13   regulation that generally rendered individuals ineligible for asylum if they transited
    14   through a third country en route to the United States but did not seek asylum in that
    15   third country (the “Asylum Ban”).2
    16         On November 19, 2019, the Court provisionally certified a class consisting of
    17   “all non-Mexican asylum-seekers who were unable to make a direct asylum claim
    18   at a U.S. POE before July 16, 2019 because of the government’s metering policy,
    19   and who continue to seek access to the U.S. asylum process” (“PI class members”).
    20   Dkt. 330 at 36 (emphasis added). The court also (a) enjoined the government from
    21   “applying the Asylum Ban to members of the aforementioned provisionally certified
    22   class” and (b) ordered the government to “return to the pre-Asylum Ban practices
    23   for processing asylum applications of members of the certified class.” Id. (the “PI”).
    24   The Court’s order was based on its interpretation of the Asylum Ban as not applying
    25   to PI class members, who by definition attempted to enter or arrived at the southern
    26   border before July 16, 2019. Id. at 31.
    27
         2
          Asylum Eligibility and Procedural Modifications, 84 Fed. Reg. 33,829 (July 16,
    28   2019), codified at 8 C.F.R. §§ 208.13(c)(4), 1208.13(c)(4).
                                                          MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
                                                   2         ENFORCE PRELIMINARY INJUNCTION
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     1         Defendants appealed the PI and sought a stay pending appeal. The Ninth
     2   Circuit entered an administrative stay on December 20, 2019. Al Otro Lado, Inc. v.
     3   Wolf, 945 F.3d 1223, 1224 (9th Cir. 2019). But, after briefing and oral argument, the
     4   Ninth Circuit denied the government’s motion for a stay, finding that “[t]he
     5   government has made a weak showing that it will suffer harm” while the appeal is
     6   pending and that the “the government has most definitely failed” to make a strong
     7   showing of likelihood of success on the merits because this Court’s legal reasoning
     8   “has considerable force” and “is likely correct.” Al Otro Lado v. Wolf, 952 F.3d 999,
     9   1007-14 (9th Cir. 2020).
    10         B.     The Clarification Order & Order on Plaintiffs’ Emergency Motion
    11         On July 17, 2020, Plaintiffs filed a Motion for Clarification of the Preliminary
    12   Injunction. Dkt. 494. The motion was predicated on Defendants’ minimal and
    13   insufficient steps to identify class members and to ensure that the Asylum Ban does
    14   not impact their eligibility for asylum. Dkt. 494-1 at 1.
    15         While the Motion for Clarification was pending, Plaintiffs learned that
    16   Defendants were about to deport a PI class member whose name was on the Tijuana
    17   waitlist and who had been deemed ineligible for asylum under the Asylum Ban (the
    18   “Applicant”). Plaintiffs filed an Emergency Motion to enjoin the Applicant’s
    19   removal from the United States until she was afforded a credible fear determination
    20   on the merits. Dkt. 574.
    21         On October 30, 2020, the Court issued an Order granting Plaintiffs’ Motion
    22   for Clarification. The Court rejected Defendants’ argument that the Asylum Ban
    23   does not apply to PI class members whose asylum denials became administratively
    24   final prior to issuance of the injunction or while the injunction was administratively
    25   stayed. Recognizing that the purpose of the PI was to return PI class members to the
    26   status quo ante prior to promulgation of the Asylum Ban, the Court concluded that
    27   the PI “must provide redress to all those metered [before July 16, 2019] in order to
    28   restore equity.” Dkt. 605 at 11 (noting PI “was structured to restore class members
                                                           MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
                                                   3          ENFORCE PRELIMINARY INJUNCTION
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     1   to the status quo by preventing the application of the Asylum Ban to class members
     2   who, but for metering, would have had the opportunity to enter the United States
     3   before the regulation imposed additional asylum eligibility requirements.”).
     4         The Court also held that “requiring class members to identify their right to
     5   relief under the Preliminary Injunction is an unreasonable allocation of the notice
     6   burdens under Rule 23(d)” and that it is thus “appropriate for Defendants to make
     7   reasonable efforts to aid in identifying potential class members at all stages of
     8   removal proceedings.” Dkt. 605 at 21-22. At the same time, the Court held that
     9   Defendants’ notice obligation should be limited to those in removal proceedings or
    10   in U.S. Department of Homeland Security (“DHS”) custody, as Plaintiffs’ counsel
    11   will “have access to the same contact details of class members and can facilitate the
    12   notification process” for those who either were removed from the United States or
    13   are otherwise not in custody or pending proceedings. Id. at 22. Relatedly, the Court
    14   ordered Defendants to share existing lists of potential PI class members and other
    15   information regarding the identities of PI class members with Plaintiffs. Id. at 23.
    16         In light of the above, the Court clarified the PI, in relevant part, as follows:
    17         “(2) DHS and EOIR must take immediate affirmative steps to reopen
               or reconsider past determinations that potential class members were
    18         ineligible for asylum based on the Asylum Ban, for all potential class
               members in expedited or regular removal proceedings. . . .;
    19
               (3) Defendants must inform identified class members in
    20         administrative proceedings before USCIS or EOIR, or in DHS
               custody, of their potential class membership and the existence and
    21         import of the preliminary injunction; and
    22         (4) Defendants must make all reasonable efforts to identify class
               members, including but not limited to reviewing their records for
    23         notations regarding class membership . . . and sharing information
               regarding class members’ identities with Plaintiffs.”
    24
               Id. at 25.3
    25
               On that same day, the Court also granted Plaintiffs’ Emergency Motion. See
    26

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          The Court also clarified that EOIR is bound by the injunction. Id. at 24. That aspect
    28   of the Clarification Order is not directly pertinent to the present dispute.
                                                           MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
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      1   Dkt. 607. The Court found that the class-screening questions that had been asked
      2   of the Applicant were ambiguous and that the photocopy of the Tijuana waitlist
      3   with the Applicant’s name on it established her class membership. Id. at 10-11.
      4   The Court ordered Defendants to provide the Applicant with a merits-based
      5   determination on her asylum claim, in compliance with the PI. Id. at 11-13, 15.
      6         C.     The Parties’ Conferrals Regarding Compliance Obligations
      7         The parties have conferred on several occasions regarding Defendants’ efforts
      8   to implement the PI, including as clarified in the Clarification Order (collectively,
      9   the “Orders”). See generally Lev Decl. In the course of these consultations Plaintiffs
     10   realized that Defendants did not have, and did not intend to develop, a
     11   comprehensive plan to comply with the Clarification Order; read the Clarification
     12   Order in an unduly narrow light; and were inappropriately focused on providing
     13   notice to, and reopening or reconsidering the cases of, discrete subsets of PI class
     14   members. Id. ¶ 5. Moreover, Defendants insisted on moving forward with screening
     15   this discrete subset of potential PI class members for class membership, prior to
     16   developing appropriate class membership screening procedures. Id. In these
     17   consultations, the last of which took place over three weeks after issuance of the
     18   Clarification Order, Defendants were often unable to provide meaningful answers to
     19   Plaintiffs’ questions regarding specific steps they intended to take to comply with
     20   the Clarification Order or a timeline for compliance. Id. For example, Defendants
     21   could not provide answers to questions about next steps in the comprehensive
     22   identification of PI class members, including a process by which PI class members
     23   affirmatively could assert class membership. Id.
     24         Defendants were also unwilling to share information with Plaintiffs regarding
     25   the identities of PI class members, as required by the Clarification Order, absent
     26   entry of a restrictive protective order (“PO”). Id., ¶ 6. Plaintiffs do not believe a PO
     27   is required but agreed to the entry of a reasonable PO. The parties conferred but were
     28   unable to reach agreement regarding the terms of such a PO. Id.
                                                             MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
                                                    5           ENFORCE PRELIMINARY INJUNCTION
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      1         In light of these discussions, on November 25, 2020, Plaintiffs sent
      2   Defendants a letter requesting that Defendants provide a written implementation
      3   plan outlining the steps they intend to take to comply with the Clarification Order
      4   and a timeline for taking those steps. The letter also set out Plaintiffs’ understanding
      5   of the requirements of the Orders, Plaintiffs’ position with respect to a PO and the
      6   issues as to which the parties appeared to be at an impasse. Id., ¶¶ 7, 23-29.
      7         Defendants responded by letter dated December 2, 2020, and the parties held
      8   their final conference regarding these issues on December 4, 2020. Id., ¶¶ 7, 30-48.
      9   On December 7, 2020, Defendants rejected Plaintiffs’ final proposal regarding
     10   Defendants’ proposed PO. Id., ¶ 7, 30-49.
     11         The parties’ discussions and correspondence make clear that the parties are at
     12   an impasse regarding the following issues:
     13         Overall implementation
     14         1.     Defendants’ refusal to provide a written implementation plan outlining
     15   the steps they intend to take to comply with the Clarification Order and a timeline
     16   for taking those steps;
     17         Paragraph (4) of the Clarification Order
     18         2.     Defendants’ unwillingness to obtain additional metering waitlists from
     19   their Mexican counterparts;
     20         3.     Defendants’ unwillingness to treat an individual’s name on a metering
     21   waitlist prior to July 16, 2019 as presumptive evidence of PI class membership;
     22         4.     Defendants’ unwillingness to treat an individual’s inspection at a POE
     23   on a date when the waitlist numbers being called for entry at that POE were issued
     24   prior to July 16, 2019 as presumptive evidence of PI class membership;
     25         5.     Defendants’ unwillingness to disclaim reliance on statements made
     26   during Defendants’ faulty prior efforts at PI class membership screening (such as the
     27   screening of the Applicant) in determining class membership;
     28         6.     Defendants’ insistence that a PO is required to provide Plaintiffs with
                                                            MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
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      1   information regarding potential PI class members and the provisions of such a PO
      2   (discussed in greater detail below);
      3          Paragraph (3) of the Clarification Order
      4          7.    What constitutes adequate notice under paragraph (3) of the
      5   Clarification Order;
      6          Paragraph (2) of the Clarification Order
      7          8.    Defendants’ failure to establish a process by which individuals
      8   potentially eligible for reopening/reconsideration can submit evidence of class
      9   membership equivalent to any procedures adopted for those in DHS custody;
     10          9.    Defendants’ intent to exclude from reopening/reconsideration relief PI
     11   class members who were deemed ineligible for asylum based on the Asylum Ban,
     12   where the asylum denial decision also identifies an alternative non-categorical
     13   reason for denying asylum;
     14          10.   Defendants’ intent to exclude from reopening/reconsideration relief PI
     15   class members to whom the Asylum Ban was applied at an intermediate stage of the
     16   process (e.g., immigration court), where the final adjudicator (e.g., the Board of
     17   Immigration Appeals (“BIA”)) denied asylum only on a basis other than the Asylum
     18   Ban;
     19          11.   Defendants’ intent to not screen individuals with final determinations
     20   after June 30, 2020 for PI class membership or reopening/reconsideration relief.
     21   Id., ¶ 51.
     22   III.   ARGUMENT
     23          A. The Court Should Issue an Order Enforcing Its Prior Orders in
                    Light of Defendants’ Continued Non-Compliance
     24          “[C]ourts have inherent power to enforce compliance with their lawful
     25   orders.” Shillitani v. United States, 384 U.S. 364, 370 (1966). The general rule that
     26   a district court loses jurisdiction over a matter with the filing of a notice of appeal is
     27   “not . . . absolute.” Nat’l Res. Def. Council, Inc. v. Sw. Marine Inc. (“NRDC”), 242
     28
                                                              MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
                                                     7           ENFORCE PRELIMINARY INJUNCTION
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      1   F.3d 1163, 1166 (9th Cir. 2001). “The district court retains jurisdiction during the
      2   pendency of an appeal to act to preserve the status quo.” Id. This exception is
      3   “codified in [then-]Rule 62(c) [now Rule 62(d)] of the Federal Rules of Civil
      4   Procedure, which allows a district court to ‘suspend, modify, restore, or grant an
      5   injunction during the pendency of the appeal […].’” Id. Accordingly, despite a
      6   pending appeal, a district court may clarify, modify, supervise compliance with, or
      7   enforce an injunction, so long as “the changes preserve[] the status quo and d[o] not
      8   materially alter the status of the case on appeal.” Id. (affirming modification of
      9   injunction while appeal was pending); Meinhold v. U.S. Dep’t. of Def., 34 F.3d 1469,
     10   1480 n.14 (9th Cir. 1994) (clarifying and supervising compliance with injunction
     11   while appeal pending was proper); Fraihat v. U.S. Immigr. & Customs Enf’t, 2020
     12   WL 6541994, at *6-13 (C.D. Cal. Oct. 7, 2020), appeal filed, No. 20-56297 (9th Cir.
     13   Dec. 7, 2020) (clarifying and ordering additional monitoring of compliance with
     14   injunction while appeal pending); Armstrong v. Brown, 857 F. Supp. 2d 919, 949,
     15   951 (N.D Cal. 2012), aff’d, 732 F.3d 955 (9th Cir. 2013) (enforcing prior order and
     16   finding that “a district court has continuing jurisdiction in support of its judgment,
     17   and ‘until the judgment has been properly stayed or superseded, the district court
     18   may enforce it ....’ ” (citations omitted)).
     19         Given Defendants’ continued noncompliance, see infra, the Court should
     20   issue an order enforcing its prior Orders to preserve the status quo, Defendants’
     21   appeals of the Orders notwithstanding. See Dkt. 335 (notice of appeal of PI); Dkt.
     22   634 (notice of appeal of Clarification Order). On March 5, 2020, the Ninth Circuit
     23   denied Defendants’ motion to stay the PI pending appeal; thus, the PI is in effect. Al
     24   Otro Lado, 952 F.3d at 1015-16. On October 30, 2020, the Court entered the
     25   Clarification Order—in part—to preserve the status quo enshrined in the PI because
     26   of developing information regarding Defendants’ noncompliance with the
     27   “equitable purpose of” the PI. Dkt. 605 at 10-12. Enforcing the Orders would not
     28   “materially alter the status of the case on appeal” because it would merely further
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      1   explain and order compliance with the Court’s prior decision regarding the
      2   applicability of the Asylum Ban to those metered before July 16, 2019, as set forth
      3   in the PI. NRDC, 242 F.3d at 1166-67 (no material alteration where defendant “had
      4   a full and fair hearing on the[] core issues before the district court . . . .”).
      5          More than a month after its issuance, Defendants have failed to comply or
      6   even provide a plan for compliance with the terms of the Clarification Order.
      7   Defendants’ disregard for preserving the status quo as required under the Orders is
      8   particularly troubling given the potential harm to PI class members. See Dkt. 607
      9   (granting emergency relief to stay removal of the Applicant). Enforcing this Court’s
     10   prior Orders to ensure compliance with the purpose and intent of the PI is appropriate
     11   and necessary. See Hoffman ex rel. N.L.R.B. v. Beer Drivers & Salesmen’s Local
     12   Union No. 888, 536 F.2d 1268, 1276 (9th Cir. 1976) (court retains jurisdiction
     13   “where the court supervises a continuing course of conduct and where as new facts
     14   develop additional supervisory action by the court is required, . . . even though in
     15   the course of that supervision the court acts upon or modifies the order from which
     16   the appeal is taken.”); Fraihat, 2020 WL 6541994, at *6 (modifying and clarifying
     17   an injunction, “in keeping with the original purposes of the PI Order,” in order “[t]o
     18 ensure the twin goals of compliance and not disturbing the appeal”).
     19       B.     Defendants and EOIR Lack a Plan or Timeline to Comply with the
                     Preliminary Injunction and the Clarification Order
     20          As discussed above and set forth in greater detail in the Lev Declaration, the
     21   parties’ consultations have demonstrated that Defendants do not have, and do not
     22   intend to timely develop, a comprehensive plan governing their compliance with the
     23   Orders. Lev Decl., ¶¶ 5, 9, 51(a). To the contrary, Defendants’ compliance efforts
     24   appear to consist of disparate efforts to comply with only certain provisions of the
     25   Clarification Order in a haphazard manner, with no logical sequencing of steps, no
     26   sense of urgency, and no targeted end date. For example, Defendants have repeatedly
     27   stated that their first priority is to provide notice to individuals in DHS custody
     28
                                                               MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
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      1   whose removal has been stayed pending a determination of such individuals’ class
      2   membership. Id., ¶ 5, 13. But Defendants are intent on providing such notice before
      3   they have developed specific plans for how such class membership will be
      4   determined or what will happen to those individuals found to be class members. Id.,
      5   ¶¶ 5, 10, 14. This is putting the cart before the horse. While Plaintiffs do not object
      6   in principle to providing such notice, Defendants’ drafted notice was confusing and
      7   did not contain critical information necessary to inform recipients of how to establish
      8   class membership and vindicate their rights under the PI. Id., ¶ 13.
      9         Moreover, this piecemeal approach to compliance has rendered Defendants
     10   often unable to answer questions regarding the compliance steps that they intend to
     11   take, id., ¶ 5, which in turn impedes a meaningful opportunity to meet and confer
     12   about such issues. For example, over a month after issuance of the Clarification
     13   Order, Defendants are still unable to answer questions about: the steps they intend
     14   to take comprising “all reasonable efforts to identify PI class members,” id.; how
     15   officials conducting class member screening for those currently in DHS custody will
     16   have access to the waitlists that Plaintiffs have provided to the government and that
     17   the government has agreed to consult as part of its process of class member
     18   identification, id., ¶ 46(e); whether or how individuals potentially entitled to
     19   reopening/reconsideration relief will be able to provide evidence of class
     20   membership, id., ¶¶ 21, 42, 46(b); or who will make class membership
     21   determinations in such cases, id., ¶¶ 21, 46(b). Nor have Defendants been able to
     22   provide a timeline by which they intend to meet their obligations under the Orders.
     23   Id., ¶¶ 5, 34. To date, Defendants have also been unwilling to share key documents
     24   with Plaintiffs, such as the screening questions that will be used to ascertain class
     25   membership or the instructions or training to be provided to those tasked with
     26   making such determinations. Id., ¶¶ 14, 46(d).
     27         The government’s failure to provide any meaningful plan to comply with the
     28   PI has hamstrung Plaintiffs’ efforts to protect PI class members’ rights. The
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      1   Clarification Order contemplates information-sharing that will allow Plaintiffs to
      2   provide notice to certain PI class members. Having no information about the steps
      3   PI class members can take to seek any relief they are due, it is unclear how Plaintiffs
      4   can provide meaningful notice to class members.
      5         Defendants’ failure to comply with the PI for over a year, their substantive
      6   positions regarding compliance with the Clarification Order (discussed below), and
      7   their lack of compliance plans or a timeline all demonstrate the need for this Court’s
      8   intervention. Courts have the discretion to direct parties to submit compliance plans
      9   in conjunction with the issuance of preliminary injunctions. See, e.g., A.H.R. v.
     10   Washington State Health Care Auth., 469 F. Supp. 3d 1018, 1049-50 (W.D. Wash.
     11   2016) (ordering parties to confer and develop plan for implementing injunction);
     12   Hadix v. Caruso, 461 F. Supp. 2d 574, 597 (W.D. Mich. 2006) (ordering defendants
     13   to provide court with plan for compliance with preliminary injunction); Laube v.
     14   Haley, 234 F. Supp. 2d 1227, 1253 (M.D. Ala. 2002) (same); Wyatt By and Through
     15   Rawlins v. Poundstone, 892 F. Supp. 1410, 1423-24 (M.D. Ala. 1995) (requiring
     16   defendants to develop implementation plan after seeking and receiving input from
     17   plaintiffs); Johnson v. Rank, 1984 WL 48801, at *4 (N.D. Cal. Dec. 7, 1984)
     18   (requiring defendants to submit implementation plan). Accordingly, Plaintiffs
     19   request that the Court direct Defendants to prepare a written implementation plan
     20   setting forth the steps that Defendants intend to take to comply with each paragraph
     21   of the Clarification Order and a timeline for doing so.
     22         Moreover, in light of the number of issues involved in implementing the
     23   Orders (particularly in light of Defendants’ failure to maintain appropriate records),
     24   Defendants’ conduct to date, and the parties’ inability to reach agreement on
     25   numerous aspects of implementation, Plaintiffs request that Defendants be required
     26   to propose an implementation plan to Plaintiffs, that the parties meet and confer, and
     27   that the Court establish a mechanism by which remaining areas of disagreement
     28   regarding implementation can be raised with this Court in a timely manner. To this
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      1   end, Plaintiffs propose that the Court establish regular status conferences regarding
      2   Defendants’ implementation of and compliance with the Orders.
      3           Finally, time is of the essence. The Court entered the PI over one year ago and
      4   the Clarification Order over one month ago. Defendants have been unable or
      5   unwilling to provide Plaintiffs with a date certain by which they intend to comply
      6   with the Clarification Order. Lev Decl. ¶¶ 5, 9, 34. The passage of time permits more
      7   PI class members to be removed from the United States under removal orders that
      8   violate the PI. Locating a PI class member and providing them meaningful notice is
      9   vastly more difficult when the person has been removed from the United States. See
     10   Joint Status Report at 7-10, Ms. L v. ICE, No. 18-cv-428 (S.D. Cal. Dec. 2, 2020),
     11   Dkt. 560 (describing the immense efforts required to attempt to locate deported
     12   parents whom the government previously separated from their children, many of
     13   whom still have not been found, including extensive phone calls, letters sent via
     14   international mail, physical searches in the home country, toll-free hotlines set up in
     15   five countries, and broad-based media outreach); see also Daniel Gonzalez, “628
     16   Parents of Separated Children Are Still Missing. Here’s why Immigrant Advocates
     17   Can’t       Find       Them.”,       USA        Today       (Dec.       11,      2020),
     18   https://www.usatoday.com/story/news/nation/2020/12/11/immigrant-advocates-
     19   cant-locate-parents-separated-border-children/3896940001/ (describing in detail the
     20   difficulties of physical searches in countries of origin). A firm deadline for
     21   production of an implementation plan that includes a timeline for compliance is
     22 therefore critical to effectuate the PI’s equitable purpose.
     23       C.      Defendants and EOIR Have Not Taken Appropriate Steps To
                      Comply with the PI
     24
                        a.     Making all reasonable efforts to identify class members
     25           To date, Defendants refuse to make “all reasonable efforts to identify class
     26   members,” (Dkt. 605 at 25), in four ways.
     27           First, as the Court has previously explained, the metering waitlists from
     28
                                                            MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
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      1   before July 16, 2019, are the obvious source for identifying the majority of class
      2   members. See, e.g., Dkt. 330 at 28 (“Class members are defined by a completely
      3   objective criteria: whether these individuals were . . . required to place themselves
      4   on a waitlist and effectively ‘take a number’ before July 16, 2019 pursuant to the
      5   U.S. Government’s metering policy. Class membership can be determined by cross-
      6   checking a class member’s name with the names included on these waitlists.”)
      7   (emphasis added); Dkt. 607 at 10-11 (Applicant’s name on Tijuana waitlist sufficient
      8   to prove class membership); see also Dkt. 605 at 23 n. 6 (discussing the waitlists and
      9   class ascertainability); Al Otro Lado, 952 F.3d at 1009 (“[T]he government could
     10   use the waitlists maintained by the Mexican government and others—waitlists it
     11   relied on to facilitate the metering policy—as a starting point in determining whether
     12   a noncitizen is part of the provisional class”). Plaintiffs maintain “all reasonable
     13   efforts to identify class members” means that Defendants should obtain copies of the
     14   waitlists from their Mexican counterparts and treat an individual’s name on a waitlist
     15   prior to July 16, 2019 as presumptive evidence of metering, which Defendants may
     16   rebut if they discover facts defeating the presumption in a specific case.
     17         Defendants, however, refuse to obtain copies of the waitlists, despite their
     18   prior reliance on and easy access to them. Plaintiffs have made immense efforts to
     19   obtain copies of metering waitlists from Tijuana, Mexicali, and Ciudad Juárez and
     20   have provided those to Defendants in electronic, text-searchable form. Cassler Decl.
     21   ¶¶ 6-7. Plaintiffs lack the ability to access lists from other border towns. Id. ¶¶ 3-5.
     22   But Defendants’ own records and testimony show that they initiate daily contact
     23   with Mexican officials who control or have access to the lists, and that Defendants
     24   could easily request copies of the waitlists from their Mexican counterparts. See, e.g.
     25   Dkt. 626-1 at 224:10-15, 280:5-285:16. Based on CBP’s own testimony, obtaining
     26   the waitlists should be easy for Defendants; they simply do not want to.
     27         Defendants further refuse to consider the metering waitlists as presumptive
     28   evidence of metering. Lev Decl., ¶¶ 17-39. Defendants argue that relying on the
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      1   waitlists is too difficult because they are not organized by A-number and they may
      2   contain occasional typographical errors. Lev Decl., ¶ 17. This “deficiency in
      3   Defendants’ recordkeeping is . . . of their own making.” Dkt. 641 at 2. Furthermore,
      4   Defendants have not provided Plaintiffs with any examples of spelling errors on the
      5   three lists they possess, let alone the extent of such errors, and they cannot know the
      6   rate of spelling errors for other lists, which they have represented they do not
      7   possess. Their claims that the lists are unusable ring hollow. But even occasional
      8   errors in the lists would not defeat the weight of the waitlists as evidence of metering
      9   for those individuals whose names can be matched to DHS records. AOL, a small
     10   non-profit organization, has successfully utilized copies of the waitlists in their
     11   possession to identify individual PI class members. Dkt. 607 at 3 (citing declaration
     12   from AOL). DHS, a vast government agency that processes considerable quantities
     13   of data on a daily basis, is certainly capable of doing the same.
     14         Defendants also complain that the waitlists may be underinclusive, Lev Decl.,
     15   ¶ 17, but that only suggests that the waitlists should not be the sole source of evidence
     16   of class membership, not that the names on the list should be disregarded. See Al
     17   Otro Lado, 952 F.3d at 1009 (rejecting Defendants’ argument that because the lists
     18   are underinclusive, Defendants may refuse to rely on them to determine class
     19   membership). Defendants’ argument that the lists are unreliable because individuals
     20   may be able to bribe their way to inspection before their numbers are called is also
     21   nonsensical, as such conduct would not result in an individual wrongly being
     22   identified as having been added to the list prior to July 16, 2019.
     23         Finally, Defendants argue that in some instances individuals could add their
     24   names to the list remotely. While Plaintiffs agree that if such a practice occurred, the
     25   individual’s inclusion on the list would not necessarily demonstrate class
     26   membership, this is the exception that Defendants would have swallow the rule. But
     27   Defendants have not provided any evidence that joining a waitlist remotely was
     28
                                                             MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
                                                    14          ENFORCE PRELIMINARY INJUNCTION
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      1   possible prior to July 16, 2019.4 If such evidence exists, it is precisely in such
      2   circumstances that the presumption of class membership could be rebutted.
      3   Defendants’ position on the waitlists is indefensible, given this Court’s and the Ninth
      4   Circuit’s prior orders and because Defendants already relied on the waitlists to
      5   determine who had previously been metered and was next “in line” for inspection.
      6         Second, Defendants refuse to refer to their internal records and available data
      7   points about the waitlists to identify potential class members, which means
      8   Defendants may decline to recognize class membership even when they have
      9   evidence of class membership in their possession. Defendants know when they were
     10   metering at particular ports and the dates when they inspected each potential class
     11   member. Yet Defendants assert they may ignore this critical evidence bearing on
     12   class membership. The case of the Applicant illustrates the problem: she was
     13   inspected at the San Ysidro POE on July 29, 2019. Dkt. 626-9 at 22. Defendants
     14   argued the Applicant had not proven she was metered. However, Defendants’ own
     15   Rule 30(b)(6) witness testified that when the San Ysidro POE is metering, as it was
     16   on July 29, 2019, all asylum seekers who are not part of a “vulnerable population”
     17   (i.e., children) are refused inspection if they did not go through the waitlist. Dkt.
     18   535-19 at 292:3-293:11. Moreover, Defendants also know (for Tijuana) and can
     19   easily learn from their Mexican counterparts (for other POEs) the dates on which
     20   various waitlist numbers were assigned and called, including the date on which the
     21   last waitlist number issued on July 15, 2019 was called (the “last entry date”). See,
     22   e.g., Dkt. 607 at 4. Defendants also have access to information regarding whether
     23

     24   4
           The quarterly “Metering Updates” authored by Plaintiffs’ expert first mention in
          November 2019 that it was possible to remotely join the metering waitlist in the
     25   small border town of Agua Prieta, Sonora. Metering Update: November 2019,
          Strauss Ctr. for Int’l Sec. & Law at the Univ. of Tex. at Austin & Ctr. for U.S.-
     26   Mex. Studies at the Univ. of Cal. San Diego Sch. of Global Policy and Strategy
          (Nov. 2019), available at https://www.strausscenter.org/wp-
     27   content/uploads/MeteringUpdate_191107.pdf. In May 2020 (after the COVID-19
          pandemic began), a second waitlist was reported to be accepting remote sign-ups.
     28   See Dkt. 539-3 at 7 n.9.
                                                            MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
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      1   particular individuals are seeking asylum. Armed with this information, Defendants
      2   could readily determine that individuals who were inspected and processed at a POE
      3   prior to the last entry date for that POE and sought asylum are likely class members,
      4   absent evidence to the contrary. Defendants have refused to take this simple step.
      5         Third, as part of their efforts to identify PI class members, Defendants intend
      6   to rely on statements made during prior USCIS class member screening interviews.
      7   The limited information Defendants have agreed to share about these interviews
      8   indicates they resulted in deeply flawed determinations and unreliable statements.
      9   The list of questions used for these interviews is, on its face, written in a way that
     10   would have certainly excluded class members. Lev Decl., ¶¶ 14-16 & Exh. 1.5 For
     11   example, at the beginning of the interview, if an interviewee responded that she had
     12   not “[sought] to enter” the United States prior to July 16, 2019, the interview would
     13   end with no additional questioning. Id. Exh. 1 at 1 (Question 2(a), directing “no need
     14   for additional questions”). But the phrase “seek to enter” is ambiguous, both as to
     15   “seek” and as to “enter.” Those terms are not defined, interpretation and translation
     16   could vary, and the phrase may be understood as referring to attempts to enter
     17   without inspection between ports or the physical act of approaching the limit line (as
     18   opposed to putting one’s name on the waitlist); thus, the answer to this question does
     19   not definitively determine class membership. Yet Defendants want to be able to rely
     20   on such statements in determining class membership.6
     21
          5
     22     On November 23, 2020, Defendants for the first time shared with Plaintiffs the
          class member screening questions used in Defendants’ prior efforts to identify
     23   class members. Lev Decl., ¶ 14. Plaintiffs subsequently shared some concerns with
          Defendants about the misleading and confusing way the questions were written.
     24   Id., ¶ 16. To date, Defendants have not shared the screening questions that they
          intend to use for class member screening in conformity with the Clarification
     25   Order, notwithstanding Plaintiffs’ requests that they do so. Id., ¶¶ 14, 46(d).
          6
            There are myriad other problems with the prior screening questions. For example,
     26   Question 3 asks whether the interviewee “put [their] name on any sort of list,” yet
          it is likely that the listkeeper, rather than the asylum seeker, physically writes or
     27   otherwise enters names on the list. Id. at 1. Question 3(a) states that if a person
          “put [their] name on th[e] list after 7/16/16,” rather than July 16, 2019 (the proper
     28
                                                           MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
                                                   16         ENFORCE PRELIMINARY INJUNCTION
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      1         The case of the Applicant demonstrates the problem: after being asked
      2   confusing questions, the interviewer asked the Applicant to confirm an inaccurate
      3   summary of her prior testimony, which the Applicant did. Dkt. 607 at 10. As the
      4   Court concluded, “[w]hile the Applicant confirmed the accuracy of this summary,
      5   the Court finds that this cursory response is outweighed by the ambiguity of the
      6   screening questions” and documentary evidence. Id. To avoid future errors in
      7   determining class membership, Defendants should be precluded from relying on
      8   statements made during the prior, faulty screening interviews.
      9         Fourth, Defendants contend they may not share class member information
     10   with Plaintiffs, despite the Court’s prior order to do so, see Dkt. 605 at 25, without
     11   another Court order that (a) requires such disclosure again and (b) limits Plaintiffs’
     12   use of such information. Plaintiffs do not oppose entering a mutually agreeable PO
     13   covering such information, but such an order is not necessary to authorize the sharing
     14   of this information in the first place, given the Court’s prior order.
     15         Plaintiffs also reject Defendants’ proposed limits on the use of information
     16   shared pursuant to the Clarification Order. Plaintiffs would agree to a PO that would
     17   limit their use of class member information—including any sharing of such
     18   information—for the purpose of facilitating compliance with the Court’s Orders. Yet
     19   Defendants seek to preemptively and unnecessarily limit Plaintiffs’ efforts to do just
     20   that. Defendants insist that Plaintiffs must agree to (a) only share class member
     21   information with (i) class members, (ii) their attorneys who have filed one of three
     22   specific DHS forms used for entering an appearance in agency proceedings, which
     23   are not required to establish an attorney-client relationship, or (iii) those individuals
     24   for whom the PI class member has provided signed, written consent; and (b) keep
     25   records of each disclosure of class member information to be shared with Defendants
     26 date), there was no need for additional questions and the interview would end,
        potentially excluding all PI class members if followed to the letter. Id. (emphasis
     27 added). And if the interview ended at Question 3(a) as instructed, the interviewer
        would never ask the following questions about trying and failing to get on a
     28 waitlist or opting not to do so. Id. at 1-2.
                                                             MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
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      1   at Defendants’ request. See Lev Decl. ¶ 50 & Exh. 2.
      2         Defendants lack a sound legal basis for these demands, which would
      3   unnecessarily limit Plaintiffs’ ability to protect the rights of PI class members. The
      4   logistics of locating and communicating with PI class members will not be
      5   straightforward. PI class members are likely located throughout the world, with
      6   varying access to technology, and many may be living in hiding. It may not be
      7   possible to obtain a PI class member’s written signature on a specified form. And
      8   Plaintiffs may need to communicate with such individuals through family members
      9   in order to provide notice of the Orders, gather information to determine possibilities
     10   for relief, and/or assist in facilitating reopening or reconsideration of prior asylum
     11   ineligibility determinations as appropriate. It is commonplace in such situations for
     12   counsel to use their professional judgment to act in their clients’ best interest,
     13   including communicating with family members where direct communication with a
     14   client is impossible. Plaintiffs do not anticipate sharing personal class member
     15   information willy-nilly—much to the contrary—but Plaintiffs are unwilling to
     16   prematurely limit their ability to act to protect PI class members’ rights if the need
     17   arises. Thus, Plaintiffs propose that they be permitted to share class member
     18   information with family members as well as with individuals with whom the PI class
     19   member or her attorney or family member consents to share such information,
     20   whether such consent be oral or in writing, with the overarching limitation that the
     21   Plaintiffs may only do so for the purpose of facilitating compliance with the Orders.
     22         Defendants’ refusal to allow Plaintiffs to share information with PI class
     23   members’ attorneys without the filing of one of three DHS forms would similarly
     24   limit Plaintiffs’ efforts to protect class members’ rights. The specified DHS forms
     25   are used to enter an appearance in an agency proceeding. The forms are unnecessary
     26   to establish an attorney-client relationship, and PI class members have the right to
     27   counsel even if their attorney did not represent them in the past in any agency
     28   proceedings. Plaintiffs also have no way of verifying that such a form has in fact
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      1   been filed. Furthermore, it may be impossible for a PI class member to sign any form
      2   authorizing disclosure of information, given the logistical challenges noted above.
      3   Defendants refuse to acknowledge that government forms do not apply to non-
      4   government actors such as Plaintiffs and they have provided no basis for transposing
      5   their own internal administrative rules on Plaintiffs after the Court ordered they share
      6   class member information. Given the context, it is unclear what these burdensome
      7   requirements would accomplish other than unnecessarily hindering Plaintiffs’
      8   efforts to vigorously pursue PI class members’ rights.
      9         Finally, Defendants demand that any new PO impose an independent record-
     10   keeping obligation on Plaintiffs beyond existing professional and ethical obligations,
     11   and they further demand a right to access Plaintiffs’ records documenting disclosures
     12   of class member information upon request. Again, Defendants have not articulated
     13   a legal basis for this requirement other than a belief, unsupported by any authority,
     14   that the limits on disclosure of asylum-related information that bind the government,
     15   see 8 C.F.R. §§ 208.6, 1208.6, must also bind Plaintiffs. This makes no sense, given
     16   Defendants’ acknowledgement that they may in fact share such information with
     17   Plaintiffs upon court order.
     18         Defendants’ unwillingness to share class member information with
     19   Plaintiffs—which was ordered a month and a half ago—has hindered Plaintiffs’
     20   ability to meaningfully assist in identifying, providing notice to, and protecting the
     21   rights of PI class members. Plaintiffs therefore seek (another) Court order directing
     22   Defendants to share this information.
     23
                       b.     Informing certain PI class members of their potential class
     24                       membership and the existence and import of the preliminary
                              injunction.
     25         The Court has required Defendants to provide notice to identified class
     26   members “in expedited removal proceedings, regular removal proceedings, or
     27   otherwise in DHS custody.” Dkt. 605 at 22 (“Paragraph 3 Notice”). Paragraph 3
     28
                                                            MEMO OF P. & A. IN SUPP. OF PLS’ MOT. TO
                                                    19         ENFORCE PRELIMINARY INJUNCTION
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      1   Notice must inform the recipients of their “potential class membership,” and must
      2   describe the PI—its “existence”—and the injunction’s meaning and significance—
      3   its   “import.”   See   “Import,”   Merriam-Webster.com,        https://www.merriam-
      4   webster.com/dictionary/import (“to bear or convey as meaning or portent:
      5   SIGNIFY”). To explain the meaning and significance of the PI to a PI class member,
      6   the notice should address: (i) the process for establishing PI class membership,
      7   including a meaningful description of next steps that allows individuals to prepare
      8   to establish class membership (e.g., USCIS screening interview and its timing,
      9   opportunity to provide evidence, and description of evidence accepted); (ii) the relief
     10   afforded to PI class members (i.e., that the Asylum Ban may not be applied to them
     11   and that certain class members may be entitled to have prior determinations reopened
     12   or reconsidered); and (iii) any additional process required to obtain the reopening
     13   and reconsideration relief afforded to certain PI class members. Notice that fails to
     14   adequately explain these aspects of the PI or explains them in a confusing or
     15   misleading manner would not satisfy the Paragraph 3 Notice requirement.
     16          Adequate Paragraph 3 Notice may not fail to inform PI class members “how
     17   to take advantage of” the relief granted under the PI. Walters v. Reno, 145 F.3d 1032,
     18   1043 (9th Cir. 1998). Furthering this principle, district courts in the Ninth Circuit
     19   have ordered class notice or otherwise required the dissemination of information
     20   specifying how class members can assert class membership and how to access relief
     21   afforded in a court order. See, e.g., Fraihat v. U.S. Immigr. & Customs Enf’t, 2020
     22   WL 2758553, at *6 (C.D. Cal. May 15, 2020) (requiring notice to “advise detainees
     23   of how to inform” government officials and detention facility staff of eligibility for
     24   relief); Gonzalez v. Barr, 2020 WL 3402227, at *2 (N.D. Cal. June 19, 2020)
     25   (addressing prior order requiring Defendants to provide detailed information about
     26   “the process by which Defendants review the cases of detained individuals to
     27   determine whether they fall within the class definition” and “the process by which
     28   Defendants notify individuals that they will be receiving [relief]”); Scholl v.
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      1   Mnuchin, 2020 WL 5877674, at *5-7 (N.D. Cal. Oct. 2, 2020) (ordering parties to
      2   file “a proposed notice plan,” including information on how to file for relief).
      3         Adequate notice also must “simply and plainly communicate” the required
      4   information. Walters, 145 F.3d at 1053; see id. at 1041 (criticizing notice “so
      5   bureaucratic and cumbersome and in some respects so uninformative and in others
      6   so misleading that even those [noncitizens] with a reasonable command of the
      7   English language would not receive adequate notice from [it].”); Fogel v. Zell, 221
      8   F.3d 955, 962 (7th Cir. 2000) (“If the notice is unclear, the fact that it was received
      9   will not make it adequate.”).
     10         As explained above, Defendants’ implementation efforts have focused on
     11   those potential PI class members whose imminent removal was stayed pending a
     12   determination of their PI class membership. On December 8, 2020, Plaintiffs
     13   received Defendants’ proposed final Notice of Potential Class Membership in Cases
     14   Subject to Removal (“Proposed Notice”), which Defendants asserted “more than
     15   complies with the requirements of Paragraph 3.” Lev Decl., ¶ 13. But the Proposed
     16   Notice does not adequately explain the import of the PI because it fails to explain
     17   when potential PI class members will be screened for class membership—and
     18   consequently, by when PI class members would be required to obtain evidence to
     19   establish class membership. Id. In addition, the Proposed Notice fails to explain how
     20   those who have established class membership will be afforded relief. Id. PI class
     21   members who are not notified about the process for asserting and establishing class
     22   membership—including how and when to submit supporting evidence—cannot
     23   fully understand the meaning and significance of the PI.
     24         The Proposed Notice also fails to adequately explain the import of the PI
     25   because it is unnecessarily confusing and provides misleading definitions of
     26   metering and the PI class. Id. Specifically, the Proposed Notice mischaracterizes the
     27   PI class as including only those who “were subject to metering at a port of entry,” as
     28   opposed to applying to those subject to the government’s metering policy—
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      1   including those who did not make it physically to a port of entry, but nevertheless
      2   were unable to seek asylum at a port of entry. Id. The Proposed Notice also adopts
      3   Defendants’ unnecessarily legalistic definition of metering, as opposed to more
      4   neutral and simple language from prior court orders as Plaintiffs had proposed. Id.
      5   PI class members must understand the core concept of metering to be able to identify
      6   themselves as class members, understand what the PI is about, and thereby
      7   understand the import of the PI. Therefore, the Court should find that Defendants’
      8   Proposed Notice does not satisfy the Paragraph 3 Notice requirements and clarify
      9   that Paragraph 3 Notice requires information about how to assert class membership
     10   and how to access relief under the PI, which should be explained in plain and simple
     11   terms. In addition, the language of the Notice should be either agreed by the parties
     12 or approved by the Court as part of the implementation plan discussed above.
     13             c.     Affirmative steps to reopen or reconsider ineligibility
                           determinations that violated the preliminary injunction
     14         Even without knowing the full extent of Defendants’ plans for implementing
     15   the Court’s Orders, the parties are at an impasse regarding four aspects of the
     16   government’s duty to “take immediate affirmative steps to reopen or reconsider past
     17   determinations that potential class members were ineligible for asylum” based on
     18   the Asylum Ban. Dkt. 605 at 25.
     19         First, the Court’s order to reopen or reconsider such cases applies to all PI
     20   class members who were previously deemed ineligible for asylum based on the
     21   Asylum Ban, whereas Defendants’ notice responsibility applies to only those in
     22   proceedings or in Defendants’ custody. Id. But for those to whom Defendants are
     23   not required to give notice (i.e., PI class members who were already removed, who
     24   were released after entry of a final removal order, or who were granted a different
     25   form of relief from removal such as withholding), such individuals must at a
     26   minimum have access to a process by which they may assert and provide evidence
     27   of class membership and have their cases reopened or reconsidered once they learn
     28
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      1   of the PI (likely through notice provided by Plaintiffs). Without access to such a
      2   process, a presumably large portion of eligible PI class members will not benefit
      3   from the ordered reopening or reconsideration. Yet Defendants have thus far failed
      4   to commit to instituting any such process, and without information about how these
      5   PI class members can access the relief they may be owed, Plaintiffs are at a loss as
      6   to how to provide them with meaningful notice of the PI. The Court should order
      7   Defendants to establish a process by which potential PI class members can submit
      8   evidence and by which Defendants will make class membership determinations, at
      9   least equivalent to the process afforded to those in DHS custody, and include such a
     10   proposed process as part of the written implementation plan discussed above.
     11         Second, the PI requires that the government “return to the pre-Asylum Ban
     12   practices for processing the asylum applications of members of the certified class.”
     13   Dkt. 330 at 36. Yet Defendants take the position that PI class members who were
     14   deemed ineligible for asylum based on the Asylum Ban are not eligible for relief
     15   under the PI if the adjudicator also opined that another basis for asylum denial might
     16   also apply. Defendants essentially take the position that an ineligibility
     17   determination on the basis of the Asylum Ban was something akin to harmless error
     18   in such situations. This assertion is misplaced for a number of reasons. First, the
     19   Court was clear that PI class members must have the “pre-Asylum Ban practices”
     20   for processing asylum applications applied to them. The pre-Asylum Ban practices
     21   included an initial eligibility determination untainted by the Asylum Ban in any way.
     22   Thus, an adjudicator’s offhand remark that she may have, or could have, or even
     23   would have denied asylum on an alternative basis should be taken with a grain of
     24   salt. The adjudicator would have known at the time that her analysis on any
     25   alternative basis for denial would never matter because such an individual was
     26   deemed absolutely barred from asylum under the Asylum Ban. It is thus impossible
     27   to know if the adjudicator would have reached the same discretionary conclusion if
     28   the Asylum Ban did not apply. Second, PI class members to whom the Asylum Ban
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      1   was applied had little incentive to challenge legally or factually questionable
      2   alternative bases for asylum denial, even if an IJ articulated such a basis in her
      3   decision, given that the Asylum Ban was deemed an absolute bar to asylum. Any
      4   appeal would have been unwinnable even if the alternative basis for denial amounted
      5   to reversible error, leaving little reason to file such an appeal. A “return to pre-
      6   Asylum Ban practices” in such cases—new proceedings untainted by the Asylum
      7   Ban, in which an adjudicator decides the asylum application on the merits alone—is
      8   necessary to effectuate the PI’s equitable purpose.
      9         Third, there appear to be cases in which an IJ deemed a PI class member
     10   ineligible for asylum based on the Asylum Ban, but the BIA dismissed the appeal on
     11   some other basis, without remanding to the IJ for an initial asylum determination on
     12   the merits. Cases where the IJ decision came before the nationwide vacatur of the
     13   Asylum Ban in Capital Area Immigrants’ Rights Coalition v. Trump (“CAIR”),
     14   2020 WL 3542481 (D.D.C. June 30, 2020), appeal filed, No. 20-5271 (D.C. Cir.
     15   Aug. 31, 2020), but the BIA dismissed the appeal after CAIR, are possible examples.
     16   As with the prior group of cases, the government refuses to reopen or reconsider
     17   such cases for an asylum decision on the merits in the first instance, despite the
     18   Court’s order that the government “return to pre-Asylum Ban practices.” This is
     19   problematic because, under Defendants’ plan, PI class members will never have their
     20   asylum cases considered by an adjudicator with the authority to engage in
     21   factfinding. See 8 C.F.R. § 1003.1(d)(3)(iv) (barring the BIA from engaging in
     22   factfinding). Given the differences in the burden of proof between asylum (requiring
     23   a well-founded fear of persecution, or a 10% chance) and other similar forms of
     24   relief like withholding (requiring a probability of persecution or torture, or a 51%
     25   chance), see Dkt. 605 at 12, being deprived of the opportunity for a factfinder to
     26   evaluate the evidence based on the proper burden of proof could change the outcome
     27   of a case. Thus, there is no basis for Defendants to refuse to reopen cases in which
     28   an IJ never reviewed the application and evidence in light of the asylum standard
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      1   (the pre-Asylum Ban practice) in the first instance.
      2         Fourth, Defendants refuse to screen for further relief those cases in which
      3   asylum was denied by an IJ after June 30, 2020—the date the Asylum Ban was
      4   vacated in CAIR. Defendants have refused, however, to share any guidance
      5   distributed to IJs notifying them of the CAIR decision; nor have Defendants stated
      6   that the Asylum Ban was not applied to any PI class members after that date.
      7   Plaintiffs are concerned, based on past examples, that some IJs may not have
      8   recognized the import of CAIR immediately on July 1, 2020, especially in light of
      9   the government’s appeal of that decision. See Dkt. 605 at 6 (describing IJ decisions
     10   refusing to apply the PI in light of the government’s appeal). More recently,
     11   Plaintiffs learned of a separate IJ decision involving a PI class member denied
     12   asylum based on the Asylum Ban. The IJ denied a motion to reopen and reconsider
     13   based on the PI, stating that “this Ninth Circuit decision does not govern Fifth Circuit
     14   law.” Lev Decl., ¶ 52 & Exh. 3. And Plaintiffs are aware of at least one case in which
     15   an IJ denied a PI class member asylum after CAIR on the basis that the individual
     16   did not seek protection in the countries through which she traveled—essentially
     17   applying the Asylum Ban under the guise of a “discretionary” determination. Lev
     18   Decl., ¶ 53 & Exh. 4. These disturbing mis-applications of the Asylum Ban
     19   undermine confidence in the government’s contention that decisions made after June
     20   30, 2020 need not be reviewed for application of the Asylum Ban. It may be
     21   reasonable for the Defendants to establish a cutoff date after which asylum denials
     22   need not be screened. But absent concrete evidence that the government is no longer
     23   applying the Asylum Ban as a factual matter, Defendants should not be permitted to
     24   treat post-June 30, 2020 asylum denials as outside the scope of the Court’s Orders.
     25   IV.   CONCLUSION
     26         For the reasons set forth above, Defendants respectfully request that the Court
     27   enter the attached proposed order enforcing its prior Orders.
     28
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          Dated: December 15, 2020
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      1                           CERTIFICATE OF SERVICE
      2        I certify that I caused a copy of the foregoing document to be served on all
      3   counsel via the Court’s CM/ECF system.
      4   Dated: December 15, 2020                    MAYER BROWN LLP
      5

      6                                               By /s/ Ori Lev
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                                                             ENFORCE PRELIMINARY INJUNCTION
